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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT
for the

Central District of California

United States of America )
Plaintiff )
Vv. ) Case No. 2:2023cr00596
Zhang et al - Lu Zhang )
Defendant )
APPEARANCE OF COUNSEL

To: — The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Lu Zhang

Date: 01/02/2024

Caleb S. ee

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